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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                       )
In re:                                                                 )
                                                                       )    Chapter 11
                                                          1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     )
                                                                       )    Case No. 19-34054 (SGJ)
                              Debtor.                                  )
                                                                       )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                      )
                                                                       )
                              Plaintiff,                               )
vs.                                                                    )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT FUND                                       )    Adv. Pro. No. 21-03000 (SGJ)
ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,                               )
HIGHLAND INCOME FUND, NEXTPOINT                                        )
STRATEGIC OPPORTUNITIES FUND, NEXPOINT                                 )
CAPITAL INC., AND CLO HOLDCO, LTD.,                                    )
                                                                       )
                             Defendants.                               )
                                                                       )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On February 1, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A:




                                             (Continued on Next Page)




1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   •   Debtor's Second Amended Witness and Exhibit List with Respect to Evidentiary
       Hearing to be Held on February 5, 2021 [Docket No. 58]


Dated: February 4, 2021
                                           /s/ Vincent Trang
                                           Vincent Trang
                                           KCC
                                           222 N Pacific Coast Highway, Suite 300
                                           El Segundo, CA 90245




                                           2
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                             EXHIBIT A
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                                                                  Exhibit A
                                                               Affected Parties
                                                           Served via Electronic Mail

                 Description                     CreditorName            CreditorNoticeName                         Email
  Financial Advisor to Official Committee of
  Unsecured Creditors                          FTI Consulting       Daniel H O'Brien               Daniel.H.O'Brien@fticonsulting.com
  Financial Advisor to Official Committee of
  Unsecured Creditors                          FTI Consulting       Earnestiena Cheng              Earnestiena.Cheng@fticonsulting.com
  Financial Advisor to Official Committee of
  Unsecured Creditors                          FTI Consulting       Ellory Brunner                 Ellory.Brunner@fticonsulting.com

  Counsel for Highland Capital Management
  Fund Advisors, L.P., Nexpoint Advisors,
  L.P., Highland Income Fund, Nextpoint
  Strategic Opportunities Fund and Nexpoint
  Capital Inc.                              K&L Gates LLP           A. Lee Hogewood, III           Lee.hogewood@klgates.com

  Counsel for Highland Capital Management
  Fund Advisors, L.P., Nexpoint Advisors,
  L.P., Highland Income Fund, Nextpoint
  Strategic Opportunities Fund and Nexpoint
  Capital Inc.                              K&L Gates LLP           Artoush Varshosaz              artoush.varshosaz@klgates.com

  Counsel for Highland Capital Management
  Fund Advisors, L.P., Nexpoint Advisors,
  L.P., Highland Income Fund, Nextpoint
  Strategic Opportunities Fund and Nexpoint
  Capital Inc.                              K&L Gates LLP           James A. Wright III            james.wright@klgates.com

  Counsel for Highland Capital Management
  Fund Advisors, L.P., Nexpoint Advisors,
  L.P., Highland Income Fund, Nextpoint
  Strategic Opportunities Fund and Nexpoint
  Capital Inc.                              K&L Gates LLP    Stephen G. Topetzes                   stephen.topetzes@klgates.com
                                            Kane Russell     Joseph M. Coleman, John J.            jcoleman@krcl.com;
  Counsel for CLO Holdco, Ltd.              Coleman Logan PC Kane                                  jkane@krcl.com

  Counsel for Highland Capital Management
  Fund Advisors, L.P., Nexpoint Advisors,
  L.P., Highland Income Fund, Nextpoint        MUNSCH HARDT
  Strategic Opportunities Fund and Nexpoint    KOPF & HARR,         Davor Rukavina, Esq., Julian P. drukavina@munsch.com;
  Capital Inc.                                 P.C.                 Vasek, Esq.                     jvasek@munsch.com
  Counsel for CLO Holdco, Ltd.                 Myers Bigel P.A.     Grant Scott, Director           gscott@myersbigel.com
                                                                                                    mclemente@sidley.com;
                                                                    Matthew Clemente, Alyssa        alyssa.russell@sidley.com;
  Counsel to Official Committee of                                  Russell, Elliot A. Bromagen,    ebromagen@sidley.com;
  Unsecured Creditors                          Sidley Austin LLP    Dennis M. Twomey                dtwomey@sidley.com
  Counsel to Official Committee of                                  Montgomery, Juliana Hoffman, pmontgomery@sidley.com;
  Unsecured Creditors                          Sidley Austin LLP    Chandler M. Rognes              jhoffman@sidley.com;




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